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                     THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

WANDA SHADIX, et al,                  :
                                      :
     Plaintiffs,                      :           CIVIL ACTION NO.
                                      :            1:21-CV-3638-AT
                                      :
v.                                    :
                                      :
YUM! BRANDS, INC., et al,             :
                                      :
                                      :
                                      :
     Defendants.                      :



                            STANDING ORDER:
                   GUIDELINES TO PARTIES AND COUNSEL
                      IN CASES PROCEEDING BEFORE
                    THE HONORABLE AMY TOTENBERG

      This case has been assigned to Judge Amy Totenberg. These guidelines are

furnished to inform the parties and their counsel of the Court’s policies,

procedures, and practice, and to promote the just, speedy, and economical

disposition of cases. This order, in combination with the Local Rules of this

Court and the Federal Rules of Civil Procedure, shall govern this case. You are

required to sign and file a Certificate of Compliance in a format

consistent with the Certificate of Compliance attached hereto.
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Appendix: Certificate of Compliance




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I.       GENERAL MATTERS

         Attorneys and pro se litigants appearing in this court in civil litigation must

observe three sets of rules:

      1. The Federal Rules of Civil Procedure.         These rules are available at

         www.uscourts.gov/RulesAndPolicies/FederalRulemaking/Overview.aspx.

      2. The local rules of this District Court and Instructions Regarding Pretrial

         Proceedings. The local rules of this Court are available for downloading at

         www.gand.uscourts.gov/local-rules. Various forms and the Court’s pretrial

         instruction package are available at http://www.gand.uscourts.gov/rules-

         standing-orders-forms.

      3. The rules and practices of the district judge, and magistrate judge if

         appropriate, assigned to your case.



II.      CASE ADMINISTRATION

a.       Contacting Chambers

         Harry Martin, the Courtroom Deputy Clerk, is your principal point of

contact on matters related to this case. Where possible, communications with

Mr. Martin should be via email (Harry Martin@gand.uscourts.gov) Telephone

(404-215-1437).      Please note that Mr. Martin is often in the courtroom, so

telephone messages may not be returned for 24 hours. Any mail, couriered, or

hand-delivered communications should be addressed as follows:



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            Harry Martin
            Courtroom Deputy Clerk
            2388 United States Courthouse
            75 Ted Turner Drive, SW
            Atlanta, GA 30303-3309

Neither the parties nor their counsel should discuss the merits of the case with

Mr. Martin or any of the Court’s law clerks.


b.    Courtesy Copies of Documents

      Parties frequently forward copies of motions or other filings directly to

chambers for the Court’s convenience. Courtesy copies are not required except

for emergency motions filed pursuant to Local Rule 7.2B, NDGa, motions for

temporary restraining orders and/or preliminary injunctions, motions for

summary judgment, or motions with voluminous exhibits. Courtesy paper copies

of emergency motions, motions for temporary restraining orders, and/or motions

for preliminary injunctions should be hand-delivered to chambers in Room 2388

on the 23rd floor of the Richard B. Russell Federal Building located at 75 Ted

Turner Drive, SW. Courtesy paper copies of motions for summary judgments,

including all exhibits, or motions with voluminous exhibits, may be either hand-

delivered to chambers in Room 2388 or submitted via regular mail to attention of

the Courtroom Deputy Clerk at the above provided address. Courtesy copies of

motions and exhibits should be printed double-sided directly from the docket on

the CM/ECF system with the docket header across the top of the document so




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that the case number, docket number, and page numbers appear on each page.

Courtesy copies should be assembled in a tabbed, indexed three-ring binder.


c.    Attorneys

      i.      Admission of Counsel Pro Hac Vice

      In the event that lead counsel had been admitted pro hac vice, local counsel

is required to be familiar with the case, and may be called upon to attend

hearings or participate in conferences on behalf of the lead counsel.


     ii.      Electronic Registration for All Counsel

      All counsel — including counsel admitted pro hac vice — must register and

participate    in   the   Court’s   electronic   filing   system,   CM/ECF     (Case

Management/Electronic Case Filing). Standing Order 04-01 states,

              Effective July 15, 2005, absent good cause shown and the
              permission of the Court, attorneys in good standing admitted
              to practice before the Bar of this Court, to include attorneys
              admitted pro hac vice, will file, sign, and verify documents
              only by electronic means to the extent and in the manner
              authorized by this Standing Order, Local Rule 5.1 A. NDGa.,
              and the administrative procedures attached hereto as Exhibits
              A and B, Administrative Procedures for Filing, Signing, and
              Verifying Pleadings and Papers by Electronic Means in Civil
              and Criminal Cases in the United States District Court for the
              Northern District of Georgia (Administrative Procedures).




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    iii.      Leaves of Absence

      Counsel are encouraged to review their calendars and submit as early as

possible any requests for leave of absence. Leave requests shall comply with

Local Rule 83.1, NDGa.


     iv.      Withdrawal or Substitution of Counsel

      It is counsel’s responsibility to keep the Court informed of any change of its

status. Counsel should comply with Local Rule 83.1, NDGa, when substituting or

withdrawing as counsel. Counsel who do not comply with this Local Rule will not

be allowed to withdraw from the case until compliance is achieved.


     v.       Corporate Representation

      Corporate entities must be represented in court by an attorney.              A

corporate officer may not represent the corporation unless that officer is also

licensed to practice law in the state of Georgia. Local Rule 83.1, NDGa, states:

              a corporation may only be represented in court by an attorney,
              that a(n) attorney must sign all pleadings submitted to the
              court, and that a corporate officer may not represent the
              corporation in court unless that officer is also an attorney
              licensed to practice law in the state of Georgia, and that failure
              to comply with this rule could result in a default being entered
              against the corporate party.

Failure to comply with this rule can result in dismissal of a corporation’s

complaint or default being entered against the corporation.




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d.    Pro Se Litigants

      Parties proceeding pro se (without an attorney) are ADVISED that they

must comply with the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), as well

as the Local Rules of the United States District Court for the Northern District of

Georgia (“LR, NDGa.”). Pro se parties may obtain certain basic materials and

hand-outs from the Office of the Clerk of Court located on the 22nd Floor of the

United States Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia. Many

documents are also available on the Court’s website at www.gand.uscourts.gov.

Pro se litigants may also utilize the law library located on the 23rd floor of the

United States Courthouse at the above provided address.

      Counsel and parties representing themselves are prohibited from engaging

in ex parte communications with the Court or the Court’s staff.         “Ex parte

communications” mean any form of contact with the Court outside the presence

of the opposing party or opposing party’s counsel. This includes, but is not

limited to, telephone calls, written correspondence, or in-person contact, by one

party or party’s counsel. If counsel or a pro se litigant seeks court action, the

appropriate procedure is to put the request in writing, in the form of a motion,

file the motion with the Clerk’s office and serve the opposing party or party’s

counsel. See Fed. R. Civ. P. 5; LR 5.1 and 5.2, NDGa.; see also LR 7.4, NDGa.

(“Communications to judges seeking a ruling or order, including an extension of

time, shall be by motion and not by letter. A letter seeking such action ordinarily



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will not be treated as a motion. Counsel [and pro se litigants] shall not provide

the Court with copies of correspondence among themselves relating to matters in

dispute.”).

      The Clerk of Court and the U.S. Marshals Service will not serve documents

filed by either party, unless expressly directed to do so by the Court. The Court

will only direct the Clerk or the U.S. Marshals Service to serve in the following

instances: (1) in the event a plaintiff is granted leave to proceed in forma

pauperis (without prepayment of fees), the Court will direct the Clerk to prepare

(and deliver to the U.S. Marshals Service if necessary) a service package

containing the case initiating document(s) or (2) in exceptional circumstances

under the Court’s discretion. The National Association of Professional Process

Servers provides a search engine for locating process servers across the nation at

its website (www.napps.org).

      A pro se plaintiff is REQUIRED to provide the Clerk with an original of

any further pleadings or other papers filed with the Court after the complaint and

is further REQUIRED to SERVE upon the defendant(s) or counsel for the

defendant(s),1 by mail or by hand delivery under Rule 5 of the Federal Rules of

Civil Procedure, a copy of every additional pleading or other paper described in

Rule 5 of the Federal Rules of Civil Procedure.




1Once counsel for a defendant has appeared in the case, it is not necessary to serve the
defendant individually; service on counsel is sufficient.

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      Each pleading or paper described in Rule 5, including pleadings, papers

related to discovery required to be served, motions, notices and similar papers,

shall include a certificate stating the date on which an accurate copy of that

pleading or document was mailed or hand-delivered to the defendant(s) or their

counsel. This Court shall disregard any papers submitted which have not been

properly filed with the Clerk, or which do not include a certificate of service. Pro

se parties are also ADVISED that, under Local Rule 7, NDGa, “PLEADINGS

ALLOWED; FORM OF MOTIONS,” if the deadline for a response to a motion

passes without a response being filed, the motion is treated as unopposed. See

LR 7.1B, NDGa. Furthermore, under Local Rule 56.1, NDGa, the failure by a

respondent to a motion for summary judgment to contest the movant’s statement

of material facts will be taken as an admission of those facts not objected to in

respondent’s statement.

      Pro se parties are further REQUIRED to keep the Court advised of their

current address at all times during the pendency of the lawsuit. Local Rule

83.1D(3), NDGa provides that counsel and parties appearing pro se have, in all

cases, a duty to notify the Clerk’s Office by letter of any change in address and/or

telephone number. Per this rule, “a failure to keep the clerk’s office so informed

which causes a delay or otherwise adversely affects the management of a civil

case shall constitute grounds for dismissal without prejudice or entry of a

judgment by default.” Pro se parties are encouraged to provide the opposing


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party/counsel with an email address for purposes of communicating regarding

the case and serving copies of pleadings filed and served via regular mail. If a pro

se party provides an email address, opposing counsel shall serve copies of all

pleadings via email and regular mail. Pro se parties are ADVISED, however,

that the Court serves via paper only and not via email.



III.   CASE MANAGEMENT

a.     Motions for Temporary Restraining Orders or Preliminary
       Injunctive Relief

       The Court will not entertain granting a temporary restraining order or

preliminary injunctive relief absent a properly supported motion with attached

evidence pursuant to Fed. R. Civ. P. 65. See LR 7.1A(1), NDGa. If a party

requests such relief only in their complaint or other pleadings, but fails to file a

separate motion seeking the same, that request will not be considered until the

merits of the case are addressed.


b.     Extensions of Time

       The Court, along with counsel for the parties, is responsible for processing

cases toward prompt and just resolutions. To that end, the Court seeks to set

reasonable but firm deadlines. Motions for extension, whether joint, unopposed,

or designated as consent, will not be granted as a matter of course. Parties

seeking an extension should explain with specificity the unanticipated or



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unforeseen circumstances necessitating the extension and should set forth a

timetable for the completion of the tasks for which the extension is sought.


c.    Conferences

      Scheduling, discovery, pre-trial, and settlement conferences promote the

speedy, just, and efficient resolution of cases. Therefore, the Court encourages

the parties to request a conference with the Court when counsel believes that a

conference will be helpful and counsel has specific goals and an agenda for the

conference. Conferences may be requested by contacting the Courtroom Deputy

Clerk via email or telephone.


d.    Discovery

      Initial disclosures should be as complete as possible based upon

information reasonably available.     Responses may not be reserved for later

supplementation.


      i.      General Principles of Discovery

      Counsel and pro se litigants should be guided by courtesy, candor and

common sense, and should conform to the Federal Rules of Civil Procedure, the

Local Rules and applicable orders in conducting discovery. In particular, counsel

and pro se litigants should have in mind the restrictions on the scope of discovery

stated in Fed. R. Civ. P. 26(b) and the good faith obligations implicit in Rule

26(g). Direct and informal communication between counsel is encouraged to

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facilitate discovery and resolve disputes. In this regard, the Court refers counsel

and parties to the guidance offered by the district court for the Central District of

California in O’Connor v. Boeing North American, Inc., 185 F.R.D. 272, 284

(C.D. Cal. 1999) (citations omitted):

             The Court would like to take this opportunity to address the
             parties and their counsel, to stress that “[t]he discovery system
             depends absolutely on good faith and common sense from
             counsel. The courts, sorely pressed by demands to try cases
             promptly and to rule thoughtfully on potentially case
             dispositive motions, simply do not have the resources to police
             closely the operation of the discovery process. The whole
             system of [c]ivil adjudication would be ground to a virtual halt
             if the courts were forced to intervene in even a modest
             percentage of discovery transactions. That fact should impose
             on counsel an acute sense of responsibility about how they
             handle discovery matters. They should strive to be
             cooperative, practical and sensible, and should turn to the
             courts (or take positions that force others to turn to the courts)
             only in extraordinary situations that implicate truly significant
             interests.”

      All discovery must be served early enough so that the responses thereto are

due on or before the last day of the discovery period. Requests for extension of

the discovery period or deadlines within the discovery period must be made in

accordance with Local Rule 26.2B, NDGa. All requests for extensions of the

discovery period must be made via motion and must state: (1) the original (and if

applicable, current) date from which the extension is being sought; (2) the

number of previous requests for extensions, if any; (3) whether these previous

requests were granted or denied; and (4) whether the adversary consents, and if

not, the reasons given by the adversary for refusing to consent. An agreed upon

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or consent motion to extend the discovery period or deadlines therein should be

clearly designated as a consent motion.        Motions must be filed prior to the

expiration of the existing discovery period. The Court will not enforce the private

agreements between the parties and/or their counsel to conduct discovery

beyond conclusion of the discovery period.

      The Court does not allow evidence at trial which was requested and not

revealed during the discovery period.


     ii.      Discovery Responses: Boilerplate and General Objections

      Boilerplate objections in response to discovery requests are strictly

prohibited.     Parties should not carelessly invoke the usual litany of rote

objections, i.e., attorney-client privilege, work-product immunity from discovery,

overly broad/unduly burdensome, irrelevant, not reasonably calculated to lead to

the discovery of admissible evidence.

      Moreover, general objections are prohibited, i.e., a party shall not include

in his response to a discovery request a “Preamble” or a “General Objections”

section stating that the party objects to the discovery request “to the extent that”

it violates some rule pertaining to discovery, e.g., the attorney-client privilege, the

work product immunity from discovery, the requirement that discovery requests

be reasonably calculated to lead to the discovery of admissible evidence, and the

prohibition against discovery requests that are vague, ambiguous, overly broad,

or unduly burdensome. Instead, each individual discovery request must be met

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with every specific objection thereto – but only those objections that actually

apply to that particular request. Otherwise, it is impossible for the Court or the

party upon whom the discovery response is served to know exactly what

objections have been asserted to each individual request.          All such general

objections shall be disregarded by the Court.

      Finally, a party who objects to a discovery request but then responds to the

request must indicate whether the response is complete, i.e., whether additional

information or documents would have been provided but for the objection(s).

For example, in response to an interrogatory, a party is not permitted to raise

objections and then state, “Subject to these objections and without waiving them,

the response is as follows . . .” unless the party expressly indicates whether

additional information would have been included in the response but for the

objection(s).


    iii.      Interrogatories

      Whenever possible, counsel should try to exchange information informally.

The results of such exchanges, to the extent relevant, may then be made of record

by requests for admission.

      The parties are expected to observe the limitations regarding the number

and scope of interrogatories as stated in Fed. R. Civ. P. 26(b) and 33. Counsel’s

or a pro se litigant’s signature on the interrogatories constitutes a certification of

compliance      with   those   limitations.     Interrogatories   should   be   brief,

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straightforward, neutral, particularized, and capable of being understood by

jurors when read in conjunction with the answer. Ordinarily, they should be

limited to requesting objective facts, such as, the identification of persons or

documents,    dates,   places,   transactions,   and   amounts.     Argumentative

interrogatories,   attempts      to   cross-examine,   and    multiple    repetitive

interrogatories are objectionable.

      Fed. R. Civ. P. 33(b) requires the respondent to provide separate written

answers to each interrogatory unless it is objected to. If an objection is made, the

reason(s) for the objection shall be stated and the interrogatory is to be answered

to the extent it is not objectionable. When in doubt about the meaning of an

interrogatory, give it a reasonable interpretation (which may be specified in the

response) and answer it so as to provide rather than deny information.

Generally, the responding party is required to produce information only in the

form in which it is maintained or is available. If an answer is made by reference

to a document, attach it or identify it and make it available for inspection. (See

No. 9 below). Generalized cross-references, such as to a deposition, are not an

acceptable answer.

      The parties are directed to consult Rules 26(b) and 33(b)-(d) about the

permissible scope of discovery and objections. Counsel’s or a pro se litigant’s

signature on the answer constitutes a certification of compliance with the

requirements of Fed. R. Civ. P. 26(g).


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      If an objection is based on privilege, the claim of privilege must be

supported by a statement of particulars sufficient to enable the Court to assess its

validity. In the case of a document, such a statement should specify the privilege

relied on and include the date, title, description, subject, and purpose of the

document; the name and position of the author; and the addresses of other

recipients. In the case of a communication, the statement should include the

privilege relied on; the date, place, subject, and purpose of the communication;

and the names and positions of all persons present. See Fed. R. Civ. P. 26(b)(5).


     iv.      Requests for Production or Inspection

      Please consult Fed. R. Civ. P. 26(b) and 34 about the permissible scope of

discovery and objections. To the extent possible, requests should specify with

particularity the title and description of documents or records requested.

(Information needed for specification can often be obtained by informal

discovery or by deposition or by interrogatories, if necessary.) The certification

requirement of Fed. R. Civ. P. 26(g) applies.

      When responding to requests, materials (including electronically stored

information), should be produced in accordance with Fed. R. Civ. P. 34(b)(2)(E).

Documents should be produced either with labels corresponding to the categories

in the specific requests to which they respond or in the manner in which they are

kept in the usual course of business. Opening a warehouse for inspection by the

requesting party, burying the responsive documents in a mass of materials, and

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similar procedures do not meet the good faith requirements of the rules. The

certification procedure of Fed. R. Civ. P. 26(g) is applicable.


      v.      Requests for Admission

      Requests for admission are an economical and efficient means of making a

record of informal exchanges of information, stipulations, and matters subject to

judicial notice, and of narrowing issues. Each request should be brief, clear,

simple, addressed to a single point and stated in neutral, non-argumentative

words. Requests ordinarily should deal with only objective facts. They may be

combined with interrogatories to ask for the factual basis of a claim or a denial.

The attorney’s or pro se litigant’s signature certifies compliance with Fed. R. Civ.

P. 26(g). Fed. R. Civ. P. 36(a)(4) requires that a response shall specifically deny a

matter or set forth in detail the reasons why the party cannot admit or deny. A

denial shall fairly meet the substance of the request, and when good faith

requires, a party shall specify so much as is true and qualify or deny the

remainder. The responding party has a duty to make reasonable inquiry before

responding. The certification requirement of Fed. R. Civ. P. 26(g) applies.


     vi.      Depositions

      Barring extraordinary circumstances, opposing counsel and pro se litigants

should be consulted, and the convenience of counsel, witnesses, and the parties




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accommodated, before a deposition is noticed. Concurrent depositions are not

permitted in the absence of stipulation or order.

      When counsel enter (or a party enters) into stipulations at the beginning of

a deposition, the terms of the stipulation should be fully stated on the record of

the deposition.

      Questions should be brief, clear, and simple. A deposition should not be

used to harass or intimidate a witness.        Normally, except in the case of

impeachment, a witness should be shown a document before being questioned

about it.

      Under Fed. R. Civ. P. 30(c)(2), objections to the manner of taking the

deposition, to the evidence, or to the conduct of a party shall be noted on the

record but the evidence objected to shall be taken subject to the objection. In the

absence of a good faith claim of privilege, instructions not to answer are rarely

justified and may lead to sanctions under Fed. R. Civ. P. 37. Speaking objections

and other tactics for coaching a witness during the deposition are not

permissible. If counsel or a pro se litigant believes that a motion to terminate or

limit the examination under Fed. R. Civ. P. 30(d) would be warranted, counsel

and/or the pro se litigant should promptly initiate a conference call to the Court

with opposing counsel for a pre-motion conference to attempt to resolve the

problem.




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      Fed. R. Civ. P. 26(b)(4) should be consulted regarding expert disclosures.

Experts who are prospective witnesses are normally produced for deposition by

the opposing party as a matter of course.

      The parties are expected to observe the limitations on depositions specified

in Fed. R. Civ. P. 26(b) and 30 and, in particular, to avoid unnecessary

depositions.


e.    Discovery Disputes

      The parties shall not file discovery motions (including motions to compel,

motions for protective order, and motions for sanctions) without prior

permission from the Court. These disputes are often resolved in a conference

with the Court, thus avoiding a delay of discovery. In the event a discovery

dispute arises, the parties are required to meet and confer in an effort to resolve

the dispute. Counsel or pro se litigants are required to confer, by telephone or in

person, in good faith before bringing a discovery dispute to the Court. See Fed. R.

Civ. P. 26(c) and 37(a)(1); LR 37.1A, NDGa. The duty to confer is NOT satisfied

by sending a written document, such as a letter, email, or fax, to the adversary,

UNLESS repeated attempts to confer by telephone or in person are unsuccessful

due to the conduct of the adversary.

      If the dispute cannot be resolved, the parties shall file on the case docket

via the CM/ECF system a Consolidated/Joint Discovery Statement outlining their

positions on each of the discovery items in dispute. The consolidated submission

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is not to exceed 6 pages if there are 4 or less issues.       For 5-10 issues, the

statement should not exceed 10 pages, and if there are more than 10 issues, the

statement should not exceed 12 pages. The statement should be formatted in a

logical order, i.e., identify each issue in dispute followed by a discussion from

each of the parties setting forth an explanation of its respective position on the

issue as follows:

             I.     Identify Discovery Issue #1
                    A. Party A’s Position
                    B. Party B’s Response
                    C. Party A’s Reply

             II.    Identify Discovery Issue #2
                    A. Party A’s Position
                    B. Party B’s Response
                    C. Party A’s Reply

      The parties are required to attach as an exhibit to the Consolidated

Statement an excerpt of the relevant discovery requests including only the

language of the specific requests and, potentially, the disputed responses, that are

the subject of the dispute. The parties should not attach an entire copy of their

Interrogatories, Requests for Production of Documents, or Requests for

Admission. No other exhibits are allowed without prior permission from the

Court. The Court will determine whether the dispute can be resolved on the

papers or whether a conference is necessary and will notify the parties

accordingly. All discovery conferences will be recorded by a court reporter. If the




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differences cannot be resolved during the conference with the Court, the Court

will direct further proceedings.


f.    Confidentiality Agreements, Protective Orders, and Motions to
      Seal

      i.      Legal Standards Governing Public Access to Judicial
              Proceedings

      In this Court, confidentiality of proceedings is the exception, not the rule.

See Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311

(11th Cir. 2001) (“The common-law right of access to judicial proceedings, an

essential component of our system of justice, is instrumental in securing the

integrity of the process.”); Newman v. Graddick, 696 F.2d 796, 803 (11th Cir.

1983) (“The historic presumption of access to judicial records must be considered

in the balance of competing interests.”). Federal Rule of Civil Procedure 26

allows a court to enter a protective order rendering documents or portions

thereof unavailable to the public after a showing of good cause. Good cause is

determined by balancing the public’s “interest in obtaining access” against the

“party’s interest in keeping the information confidential.” Id. at 1315; see also In

re Estate of Martin Luther King, Jr., Inc. v. CBS, Inc., 184 F. Supp. 2d 1353, 1363

(N.D. Ga. 2002) (quotation and citation omitted) (stating that “even where no

third party challenges a protective order, the judge is the primary representative

of the public interest in the judicial process and is duty-bound therefore to review

any request to seal the record (or part of it)”).

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      Mere agreement by the parties that documents should be designated as

confidential does not automatically satisfy the Rule 26(c) good cause standard.

See Chicago Tribune, 263 F.3d at 1313; CBS, 184 F. Supp. 2d at 1362 (“calling a

document confidential does not make it so in the eyes of the court; these

consensual protective orders merely delay the inevitable moment when the court

will be called upon to determine whether Rule 26(c) protection is deserved, a

decision ultimately rooted in whether the proponent demonstrates ‘good

cause.’”). Good cause will generally only be established where the materials (e.g.,

documents or testimony) contain trade secrets, personal identifying information,

and sensitive commercial information, where public disclosure would result in

“annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R.

Civ. P. 26(c)(1).

      Where a party satisfies the good cause standard and information is filed

under seal, the party is also entitled to the protection from public disclosure of

such information through its being quoted verbatim in the pleadings, motions,

and briefs filed with the Court. The mere reference or discussion of confidential

information, however, does not warrant sealing of the entire document and all

attachments to be filed. Instead, the Court is only interested in sealing or filing in

a redacted format very specific portions of documents that contain or refer to

confidential information.     See Romero v. Drummond Co., 480 F.3d 1234,

1245-46 (11th Cir. 2007) (“Material filed in connection with any substantive


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pretrial motion, unrelated to discovery, is subject to the common law right of

access . . . . A motion that is presented to the court to invoke its powers or affect

its decisions, whether or not characterized as dispositive, is subject to the public

right of access.”) (internal quotations and citations omitted).


     ii.      Procedure for Requesting the Court to Seal Information

      “It is the general policy of this Court not to allow the filing of documents

under seal without a Court order, even if all parties consent to the filing under

seal.” LR App H, Section II(J), NDGa. To request to file material under

seal, the Parties should follow the mechanism described in Section

II(J) of Appendix H to the Court’s Local Civil Rules. If a document

contains some discrete material that is deemed confidential and subject to

protection from public disclosure under Rule 26(c), the Parties will be entitled to

redact only those portions of the document deemed confidential. The Court

cautions that only in rare instances will it be appropriate to seal an entire

document from public access. Thus, pleadings, motions, or briefs which mention

or reference a document containing confidential information, without disclosing

the nature or contents of the protected information, shall not be sealed or filed in

a redacted format. Where it is necessary for the Parties to quote or disclose

protected confidential information in pleadings, motions, or briefs, the Parties

shall file redacted versions of their pleadings, motions, or briefs.




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g.    Electronic Filing of Exhibits and Attachments

      The parties should make every effort to label all electronically uploaded

exhibits and attachments according to their content to assist the Court in making

its ruling. For example, the Court would prefer to have documents uploaded as

Ex. A: Smith Deposition, Ex. B: Employment Contract, and Ex. C: Jones Letter,

rather than simply Ex. A, Ex. B, and Ex. C.


h.    Motions for Summary Judgment

      All citations to the record evidence should be contained in each party’s

brief, not just in the party’s statement of undisputed (or disputed) facts. When

filing a brief in support of or in opposition to a motion for summary judgment,

the party shall simultaneously file on the docket the complete transcript of each

deposition referenced in the brief. The party should include in the brief,

immediately following the deposition reference, a citation indicating the page and

line numbers of the transcript where the referenced testimony can be found. The

party should also include as an exhibit to the brief a copy of the specific pages of

the deposition that are referenced in the brief. The party should not attach to the

brief a copy of the entire deposition transcript. The entire deposition transcript

is to be filed separately.




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i.    Form of Statement of Material Facts & Response to Statement of
      Material Facts

      In addition to following the form instructions set out in Local Rule 56.1(B),

NDGa, a party responding to a statement of material facts shall copy into its

response document the numbered statement to which it is responding and

provide its response to that statement immediately following.         A party that

chooses to reply to a response shall copy into its reply document its original

numbered statement of material fact and the opposing party’s response, then

provide its reply to that statement immediately following. Each party shall file its

documents in a text-searchable PDF format. For an example of the response

format the Court prefers, see Walker v. United States Postal Service, No. 1:09-cv-

2550, Doc. 45.     Statements of material fact that do not conform to these

instructions will be returned to counsel for revision.

      The parties are REQUIRED to submit courtesy paper copies of motions

for summary judgments, including all exhibits, to chambers. Courtesy copies

may be hand-delivered to Room 2388 on the 23rd floor of the Richard B. Russell

Federal Building or may be submitted via mail, addressed as follows:

             Harry Martin
             Courtroom Deputy Clerk
             2388 United States Courthouse
             75 Ted Turner Drive, SW
             Atlanta, GA 30303-3309

      Courtesy copies of motions and exhibits should be printed double-sided

directly from the docket on the CM/ECF system with the docket header across


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the top of the document so that the case number, docket number, and page

numbers appear on each page. Courtesy copies should be assembled in a tabbed,

indexed three-ring binder.


j.    Amended Complaints and Motions to Dismiss

      If in response to a motion to dismiss, a plaintiff files an amended

complaint pursuant to Fed. R. Civ. P. 15(a)(1), the parties are directed to confer

whether the motion to dismiss is rendered moot. If so, the defendant shall

withdraw the motion prior to filing any motion to dismiss the amended

complaint.


k.    Requests for Oral Argument on Motions

      In accordance with Local Rule 7.1(E), motions are usually decided without

oral argument, but the Court will consider any request for hearing.        If oral

argument is requested, the party or parties should specify the particular reasons

argument may be helpful to the Court and what issues will be the focus of the

proposed argument. The Court will strongly consider granting oral argument in

any case where a lawyer with less than five (5) years experience will be chiefly

responsible for oral argument.


l.    Pretrial Conference

      The Court will normally conduct a pretrial conference prior to trial. The

purpose of the conference is to simplify the issues to be tried and to rule on

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evidentiary objections raised in the pretrial order. Parties should bring to the

conference a copy of the proposed pretrial order and attachments thereto, as well

as any outstanding motions.

      At the pretrial conference, the parties will be required to identify the

specific witnesses they will call in their case at trial. The Court may require the

parties to bring to the pretrial conference those exhibits they plan to introduce at

trial and to which there are objections, so that the Court may consider the

objections thereto.

      Unless otherwise directed, all motions in limine shall be filed at least

fourteen (14) days before the pretrial conference. Briefs in opposition to motions

in limine should be filed at least one (1) week before the pretrial conference.

Ordinarily, the Court will decide motions in limine at the pretrial conference.

      The attorneys for all parties are further directed to meet together by

agreement, initiated by counsel for the plaintiff, no later than ten (10) days before

the date of the pretrial conference to:

             a. discuss settlement;
             b. stipulate to as many facts and issues as possible.

The Court will discuss settlement with the parties if the case is to be tried by jury.


m.    Proposed Findings of Fact and Conclusions of Law

      When counsel is required to submit proposed findings of fact and

conclusions of law, see LR 16.4B(25), NDGa, in addition to electronically filing


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same, counsel should provide an electronic copy thereof in Microsoft Word

format      to     the    Courtroom     Deputy     Clerk,    Mr.     Martin,     at

Harry Martin@gand.uscourts.gov


n.     Jury Trial

       The Court usually is in session from 9:30 a.m. until 5:00 p.m. There will

be a fifteen (15) minute recess mid-morning and again mid-afternoon, as well as a

lunch break.

       When the jury is in the courtroom, it is the Court’s and the litigants’

responsibility to use the jury’s time efficiently. If matters need to be taken up

outside the presence of the jury, they should be raised during breaks or before the

start of the trial day.

       Voir dire will be conducted as follows. In civil cases that are not expected

to last more than two (2) weeks, the Court will empanel eight (8) jurors, none of

whom will serve as an alternate. The panel from which the eight (8) will be

selected will normally consist of twenty (20) prospective jurors.       If counsel

anticipate the need for a larger panel, e.g., in cases with media attention or in

cases involving a mutual insurance company (which may be owned in part by one

or more panel members), counsel should alert the Court promptly upon

calendaring of the case for trial.

       The jurors will enter the courtroom and be seated in the order listed on the

juror list. The Court will briefly inform the jury of the name and nature of the

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case and will then collectively ask the jurors a list of qualifying questions. One

question will be whether any juror knows any witness in the case, so counsel

should be prepared to identify the witnesses who may be called to testify

(whether live or by deposition). The Court will then individually question each

juror. Each juror will be identified by name (one at a time) and each juror will

answer a predetermined list of questions. This will be followed by a few more

collective questions by the Court, and then counsel for each side will be allowed

to question the jurors collectively and individually.

      The jury will then be excused from the courtroom for a ten-minute recess.

Once the jury is excused, the parties shall make motions to strike any juror(s) for

cause. Prior to returning the jury to the courtroom, the Court will consider any

requests by counsel to ask any brief, follow-up questions to any particular

juror(s). After the Court rules on any such requests, the jury will be brought back

into the Courtroom.     After the Court asks the follow-up questions (if any),

counsel shall strike the jury. Each side shall be entitled to three (3) peremptory

strikes. The Courtroom Deputy Clerk will pass the peremptory strike sheet back

and forth between counsel, beginning with plaintiff, and counsel will write one

juror number to be stricken. This will continue until each side has exercised its

allotted strikes. The Court will then call the names of the jurors who have been

selected, and they shall take a seat in the jury box. At this time, counsel may




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make motions challenging the makeup of the jury at a sidebar. The remaining

panel will be excused, and the selected jury will be sworn.

      Opening statements are generally limited to twenty (20) minutes per side.

Closing arguments generally are limited to thirty (30) minutes per side. Parties

requesting more time for these presentations must seek leave of Court at the

pretrial conference. During opening statement, counsel may refer to the contents

of, and show the jury, exhibits — provided that counsel is unaware of a genuine

issue as to the admissibility of the exhibit into evidence and counsel genuinely

expects that each such exhibit will be admitted into evidence.

      It is each party’s responsibility to have enough witnesses on hand for each

day’s proceedings.

      To assist the Court Reporter, all communications to the Court should be

made before a microphone from a position at counsel table or from the lectern.

During trial, a portable microphone is available that will allow counsel to move

about the courtroom. Any witness not testifying from the witness stand must

also use a portable microphone.

      Counsel should refrain from making disparaging remarks or displaying ill

will toward other counsel and from causing or encouraging any ill feeling among

the litigants. Counsel and litigants are to refrain from making gestures, facial

expressions, or audible comments as manifestations of approval or disapproval of

testimony, argument, or rulings by the Court.


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      Arrangements with the Courtroom Deputy Clerk for the use of

chalkboards, view boxes, tripods, or other visual aids should be made sufficiently

in advance so that they may be set up while court is not in session.

      Exhibits must be examined and marked before trial in compliance with

Local Rule 16.4, NDGa. Exhibits need not be shown to counsel during trial for

the purpose of interposing objections or foundational inquires.         A notebook

containing all exhibits should be tendered to the Courtroom Deputy Clerk prior

to the start of trial, for use by the Judge on the bench during proceedings.

      Because enlarged exhibits and demonstrative boards are often placed on an

easel in front of the jury and thus out of the Court’s view, it would be helpful if

counsel, when showing such an exhibit or board to the jury, would provide the

Court with a small (e.g., letter or legal-sized) copy of the exhibit or board so that

the Court can view its contents.

      All papers intended for the Judge should be handed to the Courtroom

Deputy Clerk, who will pass them to the Judge. Counsel are not required to

obtain permission from the Judge to approach a witness in order to show the

witness an exhibit or other document.

      Only one attorney per party may object to the testimony of a witness being

questioned by an opposing party. The objection must be made by the attorney

who has conducted or is to conduct the examination of the witness. Only one

attorney for each party may address the Court during the charge conference.


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      Examination of a witness should be limited to questions addressed to the

witness. Counsel are to refrain from making extraneous statements, comments,

or remarks during examination.

      Offers or requests for stipulations should be made privately, not within the

hearing of the jury.

      Counsel should refrain from putting any matter before the jury in the form

of a question that counsel knows or expects will be subject to an objection that is

likely to be sustained. Such matters should be taken up with the Court outside

the presence of the jury.

      Counsel should not ordinarily make motions in the presence of the jury.

Such matters may be raised at the first recess or at sidebar. A motion for mistrial

must be made immediately, but the Court may require argument at the next

recess or excuse the jury. When making an objection, counsel shall state only the

legal basis of the objections (e.g., “leading” or “hearsay”) and should not

elaborate, argue, or refer to other evidence unless asked to do so by the Judge.

      Counsel are prohibited from addressing comments or questions to each

other. All arguments, objections and motions should be addressed to the Court.

      The Court expects five (5) to six (6) hours of testimony per day in jury trials

and will not allow sidebar conferences or lengthy hearings outside the presence of

the jury to disrupt the orderly presentation of evidence.




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o.    Jury Charges

      Ordinarily, the Court will charge the jury after closing argument. The

parties must file, and email to the Courtroom Deputy Clerk in Microsoft Word

format, a single, unified set of proposed jury instructions on the law applicable to

the specific case; where an instruction is not agreed upon, the parties should

indicate who is proposing the instruction and the legal basis for the instruction

and for the other party’s opposition to the instruction. The Court will not accept

supplemental jury charges from the parties that are submitted later than a day

prior to the end of trial. The parties must orally request leave of court to file

supplemental jury charges. The jury will be provided with a written copy of the

jury charge.


p.    Courtroom Technology

      The courtroom has various electronic equipment for use by counsel at trial.

For more information on the equipment, or to schedule an opportunity to test the

equipment, please contact the Courtroom Deputy Clerk, Mr. Martin, at

Harry Martin@gand.uscourts.gov        or    404-215-1437.     It   is   the   parties’

responsibility to make sure they know how to use the equipment available, to

have the cables necessary to hook up their equipment, and to ensure that their

equipment will interface with the Court’s technology.

      A court order is required to bring boxes of exhibits, projectors, laptops—

virtually anything necessary for use at trial—into the courthouse. The parties


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should file a motion, with proposed order, detailing the equipment they wish to

bring into the courtroom. This should be done not less than three (3) business

days prior to the hearing or trial, to allow for proper notification to the United

States Marshals Service.

      IT IS SO ORDERED this 13th day of September, 2021.



                                       ___________________________________
                                       AMY TOTENBERG
                                       UNITED STATES DISTRICT JUDGE




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


______________________                   :
______________________,                  :
                                         :
      Plaintiff[s],                      :
                                         :
v.                                       :
                                         :
______________________                   :           CIVIL ACTION NO.
______________________,                  :           1:___-CV-_____-AT
                                         :
      Defendant[s].                      :


                      CERTIFICATE OF COMPLIANCE

      I hereby certify that I have read the Court’s Standing Order in Cases

Proceeding Before the Honorable Amy Totenberg and that I will comply with its

provisions during the pendency of this litigation.



                                ___________________________
                                Signature of counsel or pro se party
